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                     UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF COLUMBIA

 In re                                )
                                      )
      Jeannie Quinteros               )     Case No.19-00195-SMT
                                      )
                                      )     (Chapter 13)
                  Debtor.             )
 ___________________________          )
                                      )
  Jeanie Quinteros                    )
                                      )
                      Appellant       )     Civil Action No.
                                      )
                v.                    )
                                      )
                                      )
 Capital Ventures                     )
 International, Inc.                  )
                  Appellee.

                     TRANSMITTAL OF NOTICE OF APPEAL

     Transmitted herewith to the Clerk of the District Court for
docketing in the District Court pursuant to Fed. R. Bankr. P.
8003(d)(2) is the Notice of Appeal (Dkt. No.100) in the above-
captioned bankruptcy case.


Other comments:
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The parties to the order appealed and their respective attorneys
are as follows:

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                                             Angela D. Caesar,
                                             Clerk of the Court

Dated: 10/7/2019                             By: /s/Vamira Ragland
                                             Deputy Clerk
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